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A,

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION ORIGINAL

UNITED STATES OF AMERICA

Case:2:19-cr-20726

CRIM Judge: Battani, Marianne O.
MJ: Stafford, Elizabeth A.
Filed; 10-31-2019 At 09:36 AM
VS. HONOQ INFO USAV. ROBINSON (kb)

VIOLATIONS: — 18 U.S.C. § 371
29 U.S.C. § 501(c)

D-1 EDWARD N. ROBINSON,

 

Defendant.
/
INFORMATION
The United States Attorney charges:
INTRODUCTION

Unless otherwise stated, at all times material to this Information, the following

was true:
1. The International Union, United Automobile, Aerospace, and Agricultural
Implement Workers of America (referred to herein as “UAW” or as “United Auto

Workers”) was a labor organization engaged in an industry affecting commerce
 

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within the meaning of Sections 402(i) and 402(j) of Title 29, United States Code.
The UAW represented hundreds of thousands of non-managerial employees
employed by automobile manufacturers and other employers at numerous locations
in Michigan and across the United States. The UAW was headquartered in Detroit,
Michigan.

2. The UAW Region 5 Midwest States Community Action Program (CAP)
Council (“UAW Midwest CAP”), the UAW Midwest CAP’s predecessor entities,
and the UAW Region 5 Southwestern States CAP Council (“UAW Southwest
CAP”) were labor organizations engaged in an industry affecting commerce within
the meaning of Sections 402(i) and 402(j) of Title 29, United States Code.

3. The UAW Midwest CAP, its predecessor entities, and the UAW Southwest
CAP are some of the UAW’s many Community Action Program Councils funded
through “per-capita” tax payments derived from member dues. Both CAP councils
existed as labor organizations subordinate to the UAW and were governed by the
UAW Constitution and its bylaws. The UAW Southwest CAP was based in Dallas,
Texas; while the UAW Midwest CAP was located at the UAW Region 5’s
headquarters in Hazelwood, Missouri. UAW Region 5 was an internal subdivision

of the United Auto Workers International union.

4. The UAW, the UAW Midwest CAP, and the UAW Southwest CAP were

 

 
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required to file publicly available annual financial disclosure reports with the United
States Department of Labor.

5. From at least in or about 2010 through at least September 2019, EDWARD
N. ROBINSON was the President of the UAW Midwest CAP or a predecessor
entity. As such, EDWARD N. ROBINSON was an officer, within the meaning of
Sections 402(n) of Title 29, United States Code, and was responsible for overseeing
the operations of this UAW entity.

6. From in or about 2010 through September 2019, UAW Official A and
Vance Pearson served as either an officer or direct employee of the United Auto
Workers.

7. From in or about 2010 through in or about 2018, UAW Official B served
as either an officer or direct employee of the United Auto Workers.

8. From in or about 2010 through in or about 2016, UAW Official C was
directly employed by the United Auto Workers.

9. From in or about 2010 through in or about 2016, UAW Official D served
as either an officer or direct employee of the United Auto Workers.

10. From in or about 2010 through in or about 2012, UAW Official E served

as an officer of the United Auto Workers.

 
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COUNT 1

18 U.S.C. § 371 & 29 U.S.C. § 501(e)}
Conspiracy to Embezzle Union Funds

D-1 EDWARD N. ROBINSON

1. The allegations contained in all preceding paragraphs are hereby re-alleged
and incorporated by reference in Count | as if fully set forth herein.

2. From at least in or about 2010 and continuing through in or about
September 2019, both dates being approximate, in the Eastern District of Michigan,
Southern Division, and elsewhere, the defendant, EDWARD N. ROBINSON,
Vance Pearson, UAW Official A, UAW Official B, UAW Official C, Union Official
D, and UAW Official E did unlawfully, knowingly, and willfully combine, conspire,
confederate, and agree with each other and with other individuals, both known and
unknown, to commit an offense against the United States, that is, to violate Title 29,
United States Code, Section 501(c}, embezzlement of union funds.

3. During the course of the conspiracy, while EDWARD N. ROBINSON,
Vance Pearson, UAW Official A, Union Official B, UAW Official C, Union Official
D, and UAW Official E, were officers of the United Auto Workers or were employed
directly by the United Auto Workers, they did embezzle, steal, and unlawfully and

willfully abstract and convert to their own use more than $1.5 million of the moneys,

 
 

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funds, property, and other assets of the United Auto Workers.
MANNER AND MEANS OF THE CONSPIRACY

The manner and means by which EDWARD N. ROBINSON and others, both
known and unknown, sought to accomplish the conspiracy, included, among other
things:

4, While officers or employees of the United Auto Workers, UAW Official
A, UAW Official B, UAW Official C, UAW Official D, UAW Official E, Vance
Pearson, and EDWARD N. ROBINSON were involved in a multifaceted scheme
to embezzle funds from the UAW. One facet of the scheme involved fraudulently
obtaining hundreds of thousands of dollars of UAW funds from the UAW
headquarters, the UAW Southwest CAP, and the UAW Midwest CAP. Much of
this money was obtained through the submission of vouchers that claimed the
payments were for legitimate expenses for UAW Region 5 conferences. In reality,
the vouchers concealed the true destination of the funds and the true purpose of the
expenses, which was for the personal benefit of select senior UAW officials.
Another facet involved a scheme to fraudulently divert over $500,000 of union funds
from the UAW Midwest CAP or its predecessor entities, a significant portion of
which was converted to cash, to further fuel the lavish lifestyles to which these

officials became accustomed.

 
 

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5. While officers or employees of the United Auto Workers, UAW Official
A, UAW Official C, Vance Pearson, and EDWARD N. ROBINSON established
“Master Account” arrangements with various hotels across the United States.
Ostensibly, these hotels contracted to facilitate various union conferences and
meetings related to UAW Region 5. However, the Master Accounts were used to
divert hundreds of thousands of dollars of UAW funds for the personal benefit of
select senior UAW officials, including UAW Official A, UAW Official B, UAW
Official C, UAW Official D, Vance Pearson, and EDWARD N. ROBINSON.
These Master Accounts were funded, in part, by the UAW Headquarters based on
fraudulent vouchers submitted by senior UAW officials, which misrepresented the
destination and purpose of the expenses. Although the vouchers represented the
payments were to the hotel for legitimate conference expenses, significant portions
of the funds were forwarded through the Master Account to outside vendors for
personal expenses including cigars, private villas, high-end liquor and meal
expenses, golfing apparel, golf clubs, and green fees. If funds from the UAW’s
headquarters were exhausted or additional funds were needed, checks were issued
from the UAW Midwest CAP and UAW Southwest CAP to satisfy debts incurred

by senior UAW officials for illegitimate and personal expenses. This portion of

 
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the fraud resulted in the unauthorized or improper disbursement of over $1 million
of UAW funds.

6. While an officer of the United Auto Workers, UAW Official A directed
EDWARD N. ROBINSON to divert over $850,000 from the UAW Midwest CAP
through the acquisition of unsubstantiated and unauthorized UAW Midwest CAP
checks. Previously, UAW Official E had directed EDWARD N. ROBINSON to
similarly divert money from the UAW Midwest CAP. To conceal the theft,
EDWARD N. ROBINSON was directed by UAW Official A to fraudulently
backstop the payments with receipts for fake expenses or for expenses which had
already been fully paid. Many of the receipts for expenses utilized by EDWARD
N. ROBINSON for the cash embezzlement portion of the conspiracy had already
been paid for by the United Auto Workers through the Master Account scheme
detailed above in order to fraudulently justify the reimbursement of EDWARD N.
ROBINSON with UAW Midwest CAP funds.

7. During the course of the conspiracy, EDWARD N. ROBINSON
negotiated between $500,000 and $700,000 in fraudulent, unsubstantiated, or
unauthorized checks from the UAW Midwest CAP. EDWARD N. ROBINSON

negotiated these checks into cash. After EDWARD N. ROBINSON obtained the

cash, he split the hundreds of thousands in dollars in cash proceeds with UAW

 

 
 

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Official A, just as EDWARD N. ROBINSON had previously supplied cash to
UAW Official E. On occasion, EDWARD N. ROBINSON would give cash
generated from the scheme to other co-conspirators, including UAW Official C.
Between 2010 and 2017, UAW Official A deposited over $93,000 in cash into one
of his personal bank accounts.

8. During the course of the conspiracy, portions of the over $850,000 in
proceeds from the UAW Midwest CAP portion of the conspiracy were used to pay
for personal expenses of EDWARD N. ROBINSON, Vance Pearson, Union
Official A, Union Official B, Union Official C, Union Official D, and Union Official
E.

9. During the course of the conspiracy, EDWARD N. ROBINSON made
significant purchases of high-end liquor, cigars, wine, golf apparel, golf clubs, and
other lavish expenses at the direction of and for senior UAW officials.

10. As part of the scheme, UAW Official A, UAW Official C, and Vance
Pearson provided EDWARD N. ROBINSON with receipts for paid expenses that
EDWARD N. ROBINSON used to fraudulently backstop the unsubstantiated or
unauthorized checks from the UAW Midwest CAP.

11. As part of the scheme, UAW Official A sometimes instructed EDWARD

N. ROBINSON to issue checks from the UAW Midwest CAP in odd amounts so as

 
 

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to conceal the embezzlement activity from accounting scrutiny. UAW Official A
also cautioned EDWARD N. ROBINSON to avoid cashing any check in excess of
$10,000 so as to avoid causing a bank to generate any currency transaction reports.

12. It was a part of the conspiracy that the conspirators caused false UAW
records to be maintained and false reports to be filed by the United Auto Workers
headquarters in Detroit, Michigan with the Department of Labor, wherein the
embezzled funds and fraudulent expenditures were concealed as legitimate expenses
of UAW conferences.

OVERT ACTS

In furtherance of the conspiracy, and to effect the objects thereof, the
defendant and his co-conspirators committed and caused to be committed the
following overt acts, among others, in the Eastern District of Michigan, and
elsewhere:

13. In or about December 2015, UAW Official A ordered $13,046.91 in cigars
from the Gary’s Sales company located in Parker, Arizona. The order by UAW
Official A included 12 boxes of Ashton Double Magnum cigars at $268.00 per box
(totaling $3,216) and 12 boxes of Ashton Monarch Tubos cigars at $274.50 a box
(totaling $3,294). Subsequently, the cost of the cigars was concealed within the

expenses ofa UAW Region 5 conference, and the UAW headquarters in Detroit that

 
 

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paid for the conference was never told that the purported expenses of the conference
included over $13,000 in cigars.

14. In or about June 2016, a UAW accounting official challenged the propriety
of an expense of $19,041.33 for “outside vendors” which had been submitted to the
UAW headquarters for payment by Vance Pearson and UAW Official A in
connection with a UAW Region 5 conference in California. On or about June 8,
2016, in an e-mail message, Vance Pearson falsely told the UAW accounting official
that the $19,041.33 expense had been for “meals.” In truth and in fact, however,
the $19,041.33 expense included $5,670.00 for golf green fees, $375.00 for tips for
caddies, and $10,087.92 for golf clothing, pants, shoes, hats, gloves, shorts, jackets,
golf balls, sunglasses, and other merchandise purchased by nine UAW officials,
including UAW Official A and Vance Pearson.

15. On or about August 29, 2016, EDWARD N. ROBINSON wrote and
cashed a UAW Midwest CAP check for $9,200 and split the resulting cash proceeds
with UAW Official A. This was done at the direction of and with the full knowledge

of UAW Official A.

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16. Ostensibly, the $9,200 check was to reimburse EDWARD N.
ROBINSON for UAW Midwest CAP expenses for meals at the Blue Heron
Restaurant and HK’s Steakhouse and Bar in Lake Ozark, Missouri. EDWARD N.
ROBINSON attached these receipts to the check after the check was negotiated to
lend credibility to the disbursement. In fact, however, the exact same meals were
also paid for with funds derived from the UA W headquarters in Detroit for purported
conference expenses through a Master Account arrangement.

17. In or about November 2016, Vance Pearson ordered over $13,000 in cigars
from the Gary’s Sales company. The order by Pearson included 16 boxes of
Diamond Crown Churchills at $243 a box (totaling $3,888) and 10 boxes of Ashton
Monarch Tubos cigars at $274.50 a box (totaling $2,745). Subsequently, the cost
of the cigars was concealed within the expenses of a UAW Region 5 conference, and
the UAW headquarters in Detroit that paid for the conference was never told that the
purported expenses of the conference included over $13,000 in cigars.

18. In or about December 2016, January 2017, and February 2017, the UAW
Midwest CAP issued checks to EDWARD N. ROBINSON in the amounts of
$6,554.54, $9,600, and $2,000. Ostensibly, these monies from the UAW Midwest
CAP were to reimburse EDWARD N. ROBINSON for four meals in January 2017

at Las Casuelas restaurant and LG Prime’s Steakhouse in Palm Springs, California.

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The UAW headquarters in Detroit, Michigan, however, also paid for these exact
same four meals through a Master Account arrangement, purportedly in connection
with a UAW Region 5 conference.

19. In or about January and February 2017, EDWARD N. ROBINSON
cashed the three checks described above and then split the proceeds with UAW
Official A.

20. In or about late 2017, UAW Official A advised EDWARD N.
ROBINSON that they needed to halt the cash embezzlement portion of the
conspiracy because of the ongoing federal criminal investigation of the United Auto
Workers union and because of a new UAW position being taken by UAW Official
A.

21. In or about January 2019, in a meeting among EDWARD N.

 

ROBINSON, UAW Official A, and Vance Pearson, UAW Official A promised to
provide a sham job to a relative of EDWARD N. ROBINSON in order to “take care
of” the relative if ROBINSON agreed to falsely take sole responsibility for the
UAW Midwest CAP cash embezzlement portion of the conspiracy, thereby
attempting to protect UAW Official A from federal criminal prosecution.

22. During a meeting in or about March 2019, EDWARD N. ROBINSON

and UAW Official A discussed the government’s investigation and the sham job for

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ROBINSON’s relative. During that meeting, UAW Official A and EDWARD N.
ROBINSON also discussed whether the government had obtained documents from
the union and the hotels relating to the embezzlement scheme. UAW Official A
told EDWARD N. ROBINSON that he (UAW Official A) wished they “burned the
records.” During that meeting, UAW Official A again assured EDWARD N.
ROBINSON that UAW Official A would provide for the financial well-being of the
relative in exchange for EDWARD N. ROBINSON taking sole responsibility for
the cash embezzlement. UAW Official A stated: “We'll take care of [the
relative]. [told you that we'd take care of it.” UAW Official A also expressed
concern about whether federal investigators had gotten hold of records concerning
the use of UAW money to purchase golf clubs for UAW Official A and other UAW
officials.

23. On July 10, 2019, Vance Pearson told EDWARD N. ROBINSON he
would get a “burner phone” for ROBINSON, so that the other conspirators could
talk to ROBINSON over the telephone without fear of being intercepted on a
wiretap by federal criminal investigators. In addition, Vance Pearson advised
EDWARD N. ROBINSON that if ROBINSON had anything incriminating “at

your house, then get rid of it.” Pearson reminded ROBINSON what had happened

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after federal agents had searched Norwood Jewell’s house and discovered
incriminating evidence stored at that location.
24, On August 28, 2019, UAW Official A was in possession of over $32,000
in cash at his personal residence.
All in violation of Title 18, United States Code, Section 371 and Title 29,
United States Code, Section 501(c).
COUNT 2

18 U.S.C. § 371
Conspiracy to Defraud the United States

D-1 EDWARD N. ROBINSON

1. The introductory allegations are incorporated by reference as if fully set
forth herein.

2. Between 2014 and 2018, EDWARD N. ROBINSON did unlawfully,
voluntarily, intentionally and knowingly conspire, combine, confederate, and agree
with UAW Official A, Vance Pearson, and with other individuals and entities, both
known and unknown, to defraud the United States for the purpose of impeding,
impairing, obstructing, and defeating the lawful Government functions of the
Internal Revenue Service of the Department of the Treasury in the ascertainment,

computation, assessment, and collection of the revenue: to wit, income taxes.

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3. It was part of that conspiracy that EDWARD N. ROBINSON, UAW
Official A, Vance Pearson, and others concealed more than $1.5 million diverted
from the UAW, UAW Midwest CAP, and UAW Southwest CAP.

4. It was part of that conspiracy that EDWARD N. ROBINSON, UAW
Official A, Vance Pearson, and others received more than $1.5 million in income
from the UAW, UAW Midwest CAP, and UAW Southwest CAP, which income was
falsely and fraudulently omitted from the IRS Form 990 returns filed by the UAW
and UAW Midwest CAP.

5. EDWARD N. ROBINSON, UAW Official A, and others failed to report
the income they received from their scheme to divert funds from the UAW, the UAW
Midwest CAP, and the UAW Southwest CAP on their Form 1040 tax returns filed
with the Internal Revenue Service.

OVERT ACTS

In furtherance of the conspiracy, and to effect the objects thereof, the
defendant and his co-conspirators committed and caused to be committed the
following overt acts, among others, in the Eastern District of Michigan, and
elsewhere:

6. Between January 2017 and December 2017, EDWARD N. ROBINSON,

UAW Official A, Vance Pearson, and others negotiated “Direct Bill” or “Master

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Account” arrangements with the Renaissance Palm Springs Hotel, Loews Coronado
Bay Resort, Lodge of Four Seasons, and Thousand Hills Golf Resort. This allowed
UAW officials to deposit UA W funds up-front and run a hotel tab for personal retail,
grocery, meal, liquor, golf, cigar, and other entertainment expenses at vendors in and
around the resorts. The resorts subsequently satisfied those debts using funds from
the UAW’s deposits.

7. Between January 2017 and December 2017, EDWARD N. ROBINSON,
UAW Official A, Vance Pearson, and others prepared, approved, and submitted
fraudulent Payment Request Forms to the UAW’s international accounting staff
requesting that the UAW disburse funds to Renaissance Palm Springs Hotel, Loews

Coronado Bay Resort, Lodge of Four Seasons, and Thousand Hills Golf Resort.

 

The purported purpose of the requests was for legitimate UAW business expenses
related to training conferences. Inreality, the forms fraudulently concealed the true
purpose of the disbursements, which was to divert UAW funds for the personal
benefit of high-level UAW officials. These fraudulent submissions caused UAW
accounting personnel to make false accounting entries in the UAW’s books and
records, which were relied upon to generate financial statements and an IRS Form

990.

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8. Between January 2017 and December 2017, EDWARD N. ROBINSON,
UAW Official A, Vance Pearson, and others facilitated the transfer of $539,608 in
funds from the UAW, the UAW Midwest CAP, and the UAW Southwest CAP to

the following resorts:

$200,000 to the Renaissance Palm Springs Hotel

$161,941 to the Lodge of Four Seasons

$107,447 to the Loews Coronado Bay Resort

$70,220 to Thousand Hills Golf Resort

9. Between January 2017 and December 2017, EDWARD N. ROBINSON,
UAW Official A, Vance Pearson, and others diverted $290,852 in UAW funds held
on deposit at the aforementioned resorts for the personal benefit of themselves and
other high-level UAW officials. The diverted funds were spent on the following:

. $129,336 for luxury condominiums and villas

$46,588 for lavish restaurants

° $80,904 for golf greens fees and merchandise purchases

° $15,274 for cigars and related paraphernalia

° $18,750 for spa services, clothing, musicals, amusement park tickets

and other purchases for the personal benefit of UAW officials.

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10. On or about November 5, 2018, a UAW official filed a 2017 IRS Form
990 on behalf of the UAW. Unknown to the UAW official, the Form 990 contained
the following false statements due to the actions of the conspirators, which prevented
the IRS from making an accurate tax assessment with respect to funds diverted from
the UAW for the personal benefit of EDWARD N. ROBINSON, UAW Official A,
Vance Pearson, and others:

. Falsely reported the diverted income to EDWARD N. ROBINSON,
UAW Official A, Vance Pearson, and others as a legitimate business expense on the
UAW’s Statement of Functional Expenses

. Failed to disclose $290,852 in reportable income to UAW Official A,
Vance Pearson, and other key employees on Part VIT — Compensation of Officers,
Directors, Trustees, Key Employees, etc. related to funds diverted from the UAW.

11. Between January 2017 and December 2017, EDWARD N. ROBINSON,
UAW Official A, Vance Pearson, and others facilitated the transfer of $133,611 in
funds from the UAW Midwest CAP by issuing checks to EDWARD N.
ROBINSON or to cash. The checks were cashed and the proceeds were split
between EDWARD N. ROBINSON and UAW Official A for their personal benefit.

12. Between January 2017 and December 2017, EDWARD N. ROBINSON,

UAW Official A, and others collected random receipts in an attempt to legitimize

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the UAW Midwest CAP checks issued to ROBINSON. The receipts were
collected from numerous sources and rarely had any legitimate UAW Midwest CAP
purpose. The receipts were provided to UAW Midwest CAP accounting personnel
and were fraudulently portrayed as legitimate CAP business expenses. These
fraudulent submissions caused the UAW Midwest CAP to make false accounting
entries in its books and records, which were relied upon to generate financial
statements and an IRS Form 990.

13. On or about March 25, 2018, UAW Midwest CAP President EDWARD
N. ROBINSON filed a 2017 IRS Form 990 on behalf of the UAW Midwest CAP.
The Form 990 contained the following false items, which prevented the IRS from
making a proper determination of the UAW Midwest CAP’s tax exempt status and
prevented the IRS from making an accurate tax assessment with respect to funds
diverted from the UAW for the personal benefit of EDWARD N. ROBINSON,
UAW Official A, and others:

. Falsely reported the diverted income to EDWARD N. ROBINSON,
UAW Official A, and others as a legitimate business expense on the UAW Midwest
CAP’s Statement of Functional Expenses

. Failed to disclose UAW Official A as an officer, or key employee on

Part VII — Compensation of Officers, Directors, Trustees, Key Employees, etc.

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. Failed to disclose $133,611 in reportable income to EDWARD N,
ROBINSON and UAW Official A on Part VII — Compensation of Officers,
Directors, Trustees, Key Employees, etc. related to funds diverted from the UAW.

. Failed to disclose the material diversion of the UAW Midwest CAP’s
assets on Part VI — Governance, Management, and Disclosure and on Schedule O —
Supplemental Information to Form 990 related to funds diverted from the UAW
Midwest CAP for the personal benefit of EDWARD N. ROBINSON and UAW
Official A.

14. On or about March 18, 2018, EDWARD N. ROBINSON signed and filed
a 2017 IRS Form 1040 Individual Tax Return which return failed to report at least
$66,805 in income he diverted from the UAW, the UAW Midwest CAP, and the
UAW Southwest CAP tn 2017.

All in violation of Title 18, United States Code, Section 37!.

FORFEITURE ALLEGATIONS

Forfeiture — 18 U.S.C. § 981(a)(1)(C) &
28 U.S.C. § 2461(c)

1. Upon conviction of the offense alleged in Count | of this Information,
defendant, EDWARD N. ROBINSON, shall forfeit to the United States of America,

pursuant to Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United

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States Code, Section 2461(c), any property, real or personal, which constitutes or is
derived from proceeds traceable to said violations or a conspiracy to commit said
violations of Title 18, United States Code, Section 371 and Title 29, United States
Code, Section 501(c).

2. If any of the property described in paragraph 1 hereof as being subject to
forfeiture pursuant to Title 18, United States Code, Sections 981(a)(1)(C) and Title
28, United States Code, Section 2461(c), as a result of any act or omission of the
defendant -

a. cannot be located upon the exercise of due diligence;

b. has been transferred to, sold to, or deposited with a third party;

c. has been placed beyond the jurisdiction of this Court;

d. has been substantially diminished in value; or
e. has been commingled with other property which cannot be divided
without difficulty;
2]

 
 

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the United States of America, shal! be entitled to forfeiture of substitute property
under Title 21, United States Code, Section 853(p), as incorporated by Title 28,
United States Code, Section 246i(c).

All pursuant to Title 18, United States Code, Sections 981(a)(1)(C) and Title
28, United States Code, Section 2461(c).

MATTHEW SCHNEIDER
United States Attorne
¥ a

cre PCP

David A. Gardey Steven P. Cares
Assistant United States Attorney Assistant United States Attorney
Chief, Public Corruption Unit

Lo

Date: October 31, 2019

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Case:2:19-cr-20726
Judge: Battani, Marianne O.

 

United States District Court Criminal Case Cove oh Stafford, Elizabeth A.
Eastern District of Michigan NEO 10-31-2019 At 09:36 AM
USA V. ROBINSON (kb)

 

 

NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form to complete it accurately in all respects.

 

Companion Case Information Companion Case Numbers: 17-20406 and 19-20146

 

This may be a companion case based on LCrR 57.10(b)(4)"- Judge Assigned to Both Cases: Paul D. Borman

| asian

 

 

 

WiYes CNo AUSA’s Initials: ogee

 

 

Case Title: USA v. Edward N. Robinson
County where offense occurred: Wayne
Offense Type: Felony ‘

Information -- no prior complaint

Superseding Case information

 

 

Superseding to Case No: Judge:
Reason:
Defendant Name Charges Prior Complaint {if applicable

 

Please take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case _
4 Pa > ee

    

 

 

 

  

October 31, 2019 _ SE 2
Date . D G . /

c Assistant United States Attorney
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Bar #: P48990

1 Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same or related parties are
present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases even though one of them may have already
been terminated.
